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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                   Chapter 11

 THE WEINSTEIN COMPANY HOLDINGS LLC, et al.,              Case No. 18-10601 (MFW)

                                   Debtors.

                     MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission pro
hac vice of Kevin Mintzer, Esq., of The Law Office Of Kevin Mintzer, P.C., to represent Wedil David,
Dominque Huett and Aimee McBain in the above-captioned cases.

Dated: January 24, 2021                            /s/ Jason A. Gibson
                                                   Jason A. Gibson (DE 6091)
                                                   THE ROSNER LAW GROUP LLC
                                                   824 N. Market Street, Suite 810
                                                   Wilmington, Delaware 19801
                                                   Telephone: (302) 777-1111
                                                   Email: gibson@teamrosner.com

               CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of New York, the United States District
Court for the Southern and Eastern Districts of New York, the United States Court of Appeals for the
Second and Third Circuits and the United States Supreme Court, and submit to the disciplinary jurisdiction
of this Court for any alleged misconduct which occurs in the preparation or course of this action. I also
certify that I am generally familiar with this Court’s Local Rules and with the Revised Standing Order for
District Court Fund revised 8/31/16. I further certify that the annual fee of $25.00 has been paid to the Clerk
of Court for the District Court.

Dated: January 24, 2021                            /s/ Kevin Mintzer
                                                   Kevin Mintzer, Esq.
                                                   THE LAW OFFICE OF KEVIN MINTZER, P.C.
                                                   1350 Broadway, Suite 2220
                                                   New York, NY 10018
                                                   Telephone: (646) 843-8180
                                                   Email: km@mintzerfirm.com

                                     ORDER GRANTING MOTION
          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




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